




Dismissed and Memorandum Opinion filed October 12, 2006








Dismissed
and Memorandum Opinion filed October 12, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00793-CR

____________

&nbsp;

JESSE JAMES TREVINO, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County, Texas

Trial Court Cause No. 1062337

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to delivery of between one and four grams of cocaine.&nbsp; In
accordance with the terms of a plea bargain agreement with the State, the trial
court sentenced appellant on August 10, 2006, to confinement for two years in
the Institutional Division of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed October
12, 2006.

Panel consists of Chief Justice Hedges and Justices
Yates and Seymore.

Do Not Publish C Tex. R. App. P.
47.2(b)





